           Case 2:09-cr-00222-TLN Document 116 Filed 01/21/10 Page 1 of 3


1    DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
2    Dennis S. Waks, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     KHAMALE KEOVILAY
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,      )
10                                  )     Cr.S. 09-222-GEB
                     Plaintiff,     )
11                                  )     STIPULATION AND ORDER
               v.                   )
12                                  )
     KHAMALE KEOVILAY, et al.,      )     DATE: March 12, 2010
13                                  )     TIME: 9:00 a.m.
                     Defendants.    )     JUDGE: Hon. Garland E. Burrell
14                                  )
     __________________________     )
15
16
          It is hereby stipulated and agreed to by the United States of
17
     America through HEIKO P. COPPOLA, Assistant United States Attorney, and
18
     TODD D. LERAS, Assistant United States Attorney, defendant, KHAMALE
19
     KEOVILAY, by and though his counsel, DENNIS S. WAKS, Supervising
20
     Assistant Federal Defender, defendant, DAVID CHENG by and through his
21
     attorney, ALICE W. WONG, defendant MINGH THAM, by and through his
22
     attorney MICHAEL B. BIGELOW, defendant SAN HIN SAELEE, by and through
23
     his attorney, OLAF W. HEDBERG, defendant LONG NGUYEN, by and through
24
     his attorney, CHRISTOPHER H. WING, defendant TUAN DAO, by and though
25
     his attorney, KENNY N. GIFFARD and defendant, DUNG NGUYEN by and
26
     through his attorney MICHEAL D. LONG, that the status conference set
27
     for Friday, January 15, 2010, be continued to a status conference on
28
              Case 2:09-cr-00222-TLN Document 116 Filed 01/21/10 Page 2 of 3


1    Friday, March 12, 2010, at 9:00 a.m.
2         This continuance is being requested because defense counsel needs
3    additional time to prepare, to review discovery, and to interview
4    witnesses.     The parties have received a large amount of discovery and
5    have been advised that more is coming, including the Title III
6    documents.
7         Furthermore, the parties stipulate and agree that the interest of
8    justice served by granting this continuance outweighs the best interest
9    of the public and the defendant in a speedy trial.             (18 U.S.C. §
10   3161(h)(7)(A)).
11        Speedy trial time is to be excluded from the date of this order
12   through the date of the status conference set for March 12, 2010,
13   pursuant to 18 U.S.C. § 3161 (h)(7)(B)(iv) [reasonable time to prepare]
14   (Local Code T4).
15                                        Respectfully submitted,
16                                        DANIEL J. BRODERICK
                                          Federal Defender
17
     DATED: January 12, 2010              /S/ Dennis S. Waks
18
                                          DENNIS S. WAKS
19                                        Supervising Assistant Federal Defender
                                          Attorney for Defendant
20                                        KHAMALE KEOVILAY
     DATED:     January 12, 2010
21                                        /s/ Dennis S. Waks for
22                                        ALICE W. WONG, Attorney for
                                          DAVID CHENG
23
     DATED:     January 12, 2010
24                                        /s/ Dennis S. Waks for
25                                        MICHAEL B. BIGELOW, Attorney for
                                          MINH THAM
26   DATED:     January 12, 2010
27                                        /s/ Dennis S. Waks for
28                                        OLAF W. HEDBERG, Attorney for
                                          SANG HIN SAELEE

                                                2
              Case 2:09-cr-00222-TLN Document 116 Filed 01/21/10 Page 3 of 3


1
2
     DATED:     January 12, 2010
3                                         /s/ Dennis S. Waks for
4                                         CHRISTOPHER H. WING, Attorney for
                                          LONG NGUYEN
5
6    DATED:     January 12, 2010
                                          /s/ Dennis S. Waks for
7
                                          KENNY N. GIFFARD Attorney for
8                                         TUAN DAO
9
                                          BENJAMIN B. WAGNER
10                                        United States Attorney
11
     DATED: January 12, 2010              /s/ Dennis S. Waks for
12
                                          HEIKO P. COPPOLA
13                                        Assistant U.S. Attorney
14                                        /s/ Dennis S. Waks for
15                                        TODD D. LERAS
                                          Assistant U.S. Attorney
16
17                                        O R D E R
18
                  IT IS SO ORDERED.
19
20   Dated:     January 20, 2010

21
22                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
23
24
25
26
27
28


                                                3
